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      In the United States Court of Federal Claims
                                     05-249C
                              (Filed: April 9, 2010)

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NYCAL OFFSHORE                                 Election of Remedies; Forced
DEVELOPMENT CORP.,                             Election; Indivisible Contract;
                                               Inconsistent Remedies;
                      Plaintiff,               Restitution; Expectancy
                                               Damages
v.

THE UNITED STATES,

           Defendant.
**********************

Jeffrey E. Glen, New York, NY, for plaintiff.

Gregg M. Schwind and Allison Kid-Miller, United States Department of
Justice, Civil Division, Commercial Litigation Branch, Washington, DC,
with whom were Tony West, Assistant Attorney General, Jeanne E.
Davidson, Director, and Patricia M. McCarthy, Assistant Director, for
defendant.

                                    OPINION

BRUGGINK, Judge.

       This is a contract action brought by a part owner of two government-
issued offshore oil and gas leases. In this and a related action, we previously
held that the government committed a total breach of the lease contracts. See
Amber Resources v. United States, 68 Fed. Cl. 535 (2005) (“Amber I”). Co-
owners of the leases sought restitution in lieu of lost profits and recovered.
See Amber Resources v. United States, 73 Fed. Cl. 738 (2009) (“Amber II”);
Amber Resources v. United States, No. 02-30 (Fed. Cl. Jan. 11, 2007) (order
for Rule 54(b) Judgment). The plaintiff here, Nycal Offshore Development
Corp. (“Nycal”), did not join the other owners in seeking restitution and
instead seeks lost profits. Pending is defendant’s motion to limit plaintiff to
an award of restitution or, in the alternative, to force plaintiff to an election of
remedies before trial. The motion is fully briefed. We heard oral argument on
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March 2, 2010. For the reasons set out below, the motion is denied.

                               BACKGROUND

        Plaintiff was originally a consolidated party in Amber Resources v.
United States, No. 02-30. The facts giving rise to this dispute have been
recounted in earlier opinions and will be only briefly summarized here.1 Some
thirty years ago, the United States leased sections of the ocean floor off the
coast of California to private businesses for oil and gas exploration. In 1990,
Nycal acquired a 4.25 percent interest in two of the leases: OCS-P 460 and
464. Subsequent legislation delayed and eventually severely limited
commercial exploration and extraction, essentially rendering these leases
worthless. Consequently, many of the lessees sued here in 2002. We agreed
with plaintiffs that the government’s actions amounted to a total breach,
entitling the plaintiffs to recover. All plaintiffs other than Nycal elected to
receive restitution, i.e. the return of their lease payments. Nycal declined to
make an election at that time and its case was stayed. After further litigation
and entry of partial final judgment as to the other plaintiffs, we reactivated
Nycal’s case and deconsolidated it. Nycal now chooses to seek expectation
damages for the profits, if any, it would have reaped but for the government’s
breach. Defendant seeks to limit Nycal to restitution.

                                DISCUSSION

       One aspect of defendant’s motion can be denied as moot, namely its
alternative request that Nycal be put to an election before trial. During oral
argument, counsel for Nycal categorically represented that it was electing to
pursue only lost profits and would not seek restitution. This election is based
on the assumption, of course, that it had a choice between the two remedies.

       The balance of defendant’s motion is that defendant has no such choice.
It must elect restitution because its former co-lessees chose that remedy. For
the reasons announced during oral argument, and as further explained here, we
disagree. Nycal could opt to pursue either restitution or lost profits and it has




       1
        Amber I, 68 Fed. Cl. 535; Amber II, 73 Fed. Cl. 738 ; Amber Resources
v. United States, 538 F.3d 1358 (Fed. Cir. 2008); Amber Resources v. United
States, 87 Fed. Cl. 16 (2009).

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chosen the latter.2

       Defendant discerns in the case law a rule that one breach of an
indivisible contract can only lead to one remedy, irrespective of the number of
injured parties. In this case, because restitution has already been paid to the
former 95.75 percent interest holders, the possibility of a lost profits award to
Nycal, the remaining 4.25 percent holder, is foreclosed, according to
defendant.

       Nycal does not dispute that the leases are indivisible contracts or that
they must stand or fall as whole contracts. It disagrees, however, with
defendant’s proposition that awarding a different remedy to a different
leaseholder would be improper. Nycal contends that it was sufficient here that
the fractional leaseholders were united in claiming a total breach. Nycal
asserted, and the court held, that defendant could not and would not perform
any part of its bargain. The contract was effectively at an end, except for
determination of a remedy. In that context, Nycal contends, any rule based on
the indivisibility of contracts is not offended because Nycal would not be
receiving both expectancy damages and restitution. Nor is there any necessary
inconsistency in a different remedy. The fact that other former co-lessees
opted for a different remedy would be immaterial.

        The precise question we are confronted with is whether the holder of
a fractional interest in an otherwise undivided lease may recover damages
when restitution has been paid to the former holders of the remaining lease
interests. The parties have not presented us, and we are unaware of, any prior
decision addressing that question.

        Defendant therefore begins with the more general rule that, if a contract
is indivisible, the non-breaching party does not have the option of seeking
restitution or damages as to one part of the contract, while insisting on
performance of the balance of the contract. This is because, as the Federal
Circuit explained in Stone Forest Industries, Inc. v. United States, 973 F.2d
1548 (Fed. Cir. 1992), “when parties enter into a contract, each and every term



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         At this point Nycal has abandoned its potential remedy of restitution
by its in-court election. By accepting that election, we do not mean to suggest
that we necessarily agree with defendant that plaintiff had to make it prior to
trial. The matter is simply moot.

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and condition is in consideration of all the others, unless otherwise stated.” Id.
at 1522. That is to say that an indivisible contract stands or falls as a whole.
When one party succeeds on a claim of a total breach of an indivisible
contract, any recovery is presumed, therefore, to resolve the entire breach.
There is nothing left of the contract to perform, much less to generate a
separate recovery. See Restatement (Second) of Contracts § 236 (1981)
(hereafter “Restatement”). Restitution in a breach of contract context,
moreover, typically permits the innocent party to “unwind” the contract in its
entirety. See Restatement (Third) of Restitution § 37 (2004). See also City
of Raton v. Ark. River Power Auth., No. CIV 08-0026, 2009 U.S. Dist. LEXIS
49794, *71 (D. N.M. Mar. 12, 2009) (recognizing that partial rescission would
normally defeat the purpose of returning the parties to the status quo ante).

        These considerations are reflected in the Restatement of Contracts. For
example, when part of a contract is unenforceable because of the statute of
frauds or because of illegality, the presumption is that the entire contract is
unenforceable. See Restatement §§ 149, 197. Similarly, where all
performance by one party can be performed simultaneously, it is presumed that
it is in fact due simultaneously, unless the parties specify otherwise. See
Restatement § 234. Failure to perform any material duty under a contract acts
therefore as a condition precedent to the other parties’ continuing duty to
perform. See Restatement §§ 237, 238. There are practical reasons for these
principles. They are based on the assumption that when parties negotiate and
execute a single contract with multiple performances or conditions, unless the
parties so indicate, it should be assumed that all the promised exchanges were
simultaneous. Assuming indivisibility has the effect, moreover, of sharing or
minimizing the risk of non-performance if one party should decide that some
portion of its performance yet owed would be disadvantageous to it.

        This is illustrated, as defendant points out, in American Savings Bank
v. United States, 519 F.3d 1316 (Fed. Cir. 2008), in which the Federal Circuit
held that the contract in question was “indivisible” and therefore reversed an
award to the plaintiff bank of both lost profits and partial restitution. See id.
at 1327-28. The appellate court held that the trial court was incorrect in
finding a divisible contract and thus vacated the award of partial restitution.
Id. at 1328. The court found that restitution as to part of the contract and
damages as to another part would result in “an unfair windfall for Plaintiffs.”
Id. at 1327. This makes sense when it is understood that, in an indivisible
contract, either remedy, by itself, is theoretically comprehensive of all rights
of the innocent party. The two remedies are thus inconsistent.

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       Such considerations do not attach, therefore, when the parties negotiate
in such a way that part of the performance coming from one party is assumed
to lead to an agreed-on equivalent part performance from the other side. See
Restatement § 240. The rule thus does not apply when the contract is in fact
divisible. In that event, partial restitution can be awarded. See First
Nationwide Bank v. United States, 51 Fed. Cl. 762, 769 (2002), aff’d 431 F.3d
1342 (Fed. Cir. 2005) (holding that partial restitution was available despite
continuing performance on a different, severable portion of the contract).

        Nor do we believe that these considerations should attach here. Despite
the fact that the contract is indivisible, and despite the prior election of the
restitution remedy by co-lessees, restitution of the deposits of the 95.75 percent
holders was, by definition, not comprehensive of all rights in the contract.
Each owner held a fractional interest in an undivided whole. The fractional
shares were both completely fungible yet inherently limited. The Amber
plaintiffs received nothing that was in any sense representative of Nycal’s
interest. They gave up their fractional shares as a precondition to restitution,
but Nycal’s interest did not thereby go out of existence.

        There is therefore no inherent inconsistency in allowing Nycal’s lost
profits claim to go forward. It is not picking and choosing which parts of the
contract it wishes to enforce. There is no windfall to Nycal. The rights of the
other parties have not been compromised and would not be even if they had
not yet been adjudicated. Nor, for that matter, was the government able to
point to any prejudice to itself.

        In short, there is no prohibition on Nycal’s claim for lost profits.3
Plaintiff can continue to assert its rights to damages for breach with respect to
its fractional interests in the leases.



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         Defendant also argues that plaintiff is prohibited from seeking
damages by the doctrines of law of the case, judicial estoppel, collateral
estoppel, and res judicata. Its argument is apparently that, because we have
previously allowed restitution for these two leases with respect to the other
leaseholders, these principles dictate the same result here. We do not see the
connection. These arguments are premised on our agreement with defendant’s
main assertion that the prior award of restitution to the other plaintiffs bars
Nycal from seeking damages now. We disagree as to the main point and
therefore disagree as to law of the case, estoppel, and res judicata as well.

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                            CONCLUSION

        Defendant’s motion is therefore denied. Trial will commence on
plaintiff’s claim in October 2010. A scheduling order will be issued
contemporaneously herewith, setting forth dates for pre-trial activities.


                                              s/ Eric G. Bruggink
                                              ERIC G. BRUGGINK
                                              Judge




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